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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


    In re:                                                Chapter 11

    AMYRIS, INC., et al.,1                                Case No. 23-11131 (TMH)

                             Debtors.                     (Jointly Administered)

                                                          Re: Docket No. 496

            NOTICE OF FILING OF AMENDED SECOND SUPPLEMENTAL
            DECLARATION OF LEON SZLEZINGER IN SUPPORT OF THE
          APPLICATION OF THE OFFICIAL COMMITTEE OF UNSECURED
     CREDITORS FOR ENTRY OF AN ORDER (I) AUTHORIZING THE RETENTION
    AND EMPLOYMENT OF JEFFERIES LLC AS INVESTMENT BANKER PURSUANT
      TO 11 U.S.C. §§ 328(A) AND 1103(A), EFFECTIVE AS OF SEPTEMBER 1, 2023
           AND (II) WAIVING CERTAIN TIME-KEEPING REQUIREMENTS

             PLEASE TAKE NOTICE that on October 10, 2023, the Official Committee of

Unsecured Creditors filed the Second Supplemental Declaration of Leon Szlezinger in Support of

the Application of the Official Committee of Unsecured Creditors for Entry of an Order (I)

Authorizing the Retention and Employment of Jefferies LLC as Investment Banker Pursuant to 11

U.S.C. §§ 328(a) and 1103(a), Effective as of September 1, 2023 and (II) Waiving Certain Time-

Keeping Requirements (the “Second Supplemental Declaration”) [Docket No. 496] with the

United States Bankruptcy Court for the District of Delaware.

             PLEASE TAKE FURTHER NOTICE that attached hereto as Exhibit 1 is the amended

version of the Second Supplemental Declaration.




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      A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
      claims and noticing agent at https://cases.stretto.com/Amyris. The location of Debtor Amyris Inc.’s principal
      place of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street, Suite 100,
      Emeryville, CA 94608.


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Dated: October 10, 2023               Respectfully submitted,
       Wilmington, Delaware
                                      /s/ Sameen Rizvi
                                      Christopher M. Samis (No. 4909)
                                      Katelin A. Morales (No. 6683)
                                      Sameen Rizvi (No. 6902)
                                      POTTER ANDERSON & CORROON LLP
                                      1313 N. Market Street, 6th Floor
                                      Wilmington, Delaware 19801
                                      Telephone: (302) 984-6000
                                      Facsimile: (302) 658-1192
                                      Email: csamis@potteranderson.com
                                               kmorales@potteranderson.com
                                               srizvi@potteranderson.com
                                      -and-

                                      Gregory F. Pesce, Esq.
                                      Andrew F. O’Neill, Esq.
                                      WHITE & CASE LLP
                                      111 South Wacker Drive, Suite 5100
                                      Chicago, Illinois 60606
                                      Telephone: (312) 881-5400
                                      Facsimile: (312) 881-5450
                                      Email: gpesce@whitecase.com
                                               aoneill@whitecase.com

                                      -and-

                                      John Ramirez, Esq.
                                      Andrea Kropp, Esq.
                                      WHITE & CASE LLP
                                      1221 Avenue of the Americas
                                      New York, New York 10020
                                      Telephone: (212) 819-8200
                                      Facsimile: (212) 354-8113
                                      Email: john.ramirez@whitecase.com
                                               andrea.kropp@whitecase.com
                                      Counsel for the Official Committee of Unsecured
                                      Creditors




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